12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 1 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 2 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 3 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 4 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 5 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 6 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 7 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 8 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 13 of 15 Pg 9 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 10 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 11 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 12 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 19 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 20 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 21 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 22 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 23 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 13 of 15 Pg 24 of 25
12-12020-mg   Doc 2324-14 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
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